              Case 3:08-mc-05051-RBL Document 32 Filed 02/17/17 Page 1 of 2



 1                                                     District Judge Ronald B. Leighton
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                          UNITED STATES DISTRICT COURT FOR THE
 7
                            WESTERN DISTRICT OF WASHINGTON
 8                                     AT TACOMA
 9
10 UNITED STATES OF AMERICA,                         CASE NO. 3:08-MC-05051-RBL
11                                                   ORDER OF DISMISSAL
                                    Petitioner,
12
                            v.
13
     DORAN KRAUS,
14                                  Respondent.

15
16          Petitioner, United States of America, filed a Notice of Compliance
17
     reporting that Respondent Doran Kraus has complied with the Internal
18
     Revenue Service (IRS) Summons in this matter and that judicial enforcement is
19
     no longer needed. Accordingly, for the reasons stated in the United States’
20
     Notice of Compliance, the Court orders as follows:
21
            1. Mr. Kraus has purged himself of civil contempt of court by complying
22
                with the IRS Summons; and
23
24              //

25              //

26              //

27              //
28                                                                   UNITED STATES ATTORNEY
     Order of Dismissal
                                                                    700 STEWART STREET, SUITE 5220
     United States v. Kraus, 3:08-MC-05051-RBL - 1                    SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
              Case 3:08-mc-05051-RBL Document 32 Filed 02/17/17 Page 2 of 2



 1
            2. This summons enforcement action is hereby dismissed.
 2
            It is so ordered.
 3
            DATED this 17th day of February, 2017.
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 8
                                                     A
                                                     Ronald B. Leighton
 9                                                   United States District Judge

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11
12   Presented by:

13   s/ Kyle A. Forsyth
14   KYLE A. FORSYTH, WSBA # 34609
     Assistant United States Attorney
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28                                                                        UNITED STATES ATTORNEY
     Order of Dismissal
                                                                         700 STEWART STREET, SUITE 5220
     United States v. Kraus, 3:08-MC-05051-RBL - 2                         SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
